                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                        CIVIL ACTION NO. 3:21-CV-00228-GSM
 ANDRE ANTONIO DAVIS,

                 Plaintiff,

    v.                                                           ORDER

 SUNDAR PICHAI et al.,

                 Defendants.


         This matter is before the Court sua sponte. The pro se Plaintiff filed this Complaint on

May 18, 2021. The Court has reviewed the Complaint, and it appears that the Complaint is

frivolous on its face and fails to state a claim upon which relief can be granted. Accordingly,

         IT IS THEREFORE ORDERED that the Complaint is hereby dismissed with prejudice.



                                        Signed: June 8, 2021
